UJ^   Case 1:16-cv-00347-JMS-RLP Document 116 Filed 08/15/17 Page 1 of 7     PageID #: 797

          ORIGINAL
                                                                          FILED IN THE
                                                                 UNITED STATES DISTRICT COURT
        Cristeta C. Owan                                               OlSTRICTOF HAWAII
        3714 Nawiliwili Rd.
        Lihue, HI 96766                                                  Al)Gl!5 2017      isi
        Tel; (808) 651-9727
        Fax: (808)245-7783                                      at   '^o'clockand 11 min.^M.
        Email: cristetaolQyahoo.com                                    SUE BEITIA,CLERK



        Defendant, Pro Se


                           IN THE UNITED STATES DISTRICT COURT

                               FOR THE DISTRICT OF HAWAII


        ATOOI ALOHA, LLC, A Nevada               CIVIL NO. 16-00347 JMS RLP
        Limited Liability Company,
        CFIAIG B. STANLEY, as Trustee           DEFENDANT, CROSS-CLAIM
        for THE EDMON KELLER AND                DEFENDANT CRISTETA C. OWAN'S
        CLEAVETTE MAE STANLEY FAMILY            SCHEDULING CONFERENCE
        TRUST; CRAIG B. STANLEY,                STATEMENT; CERTIFICATE OF
        individually, MILLICENT                 SERVICE
        ANDRADE, individually,


                 Plaintiffs,
                     vs.



        ABNER GUARINO, AURORA GUARINO,
        INVESTOR FUNDING CORPORATION,
        as Trustee for an unrecorded
        Loan Participation Agreement
        dated June 30, 2014; APT-320,
        LLC, a Hawai'i limited
        liability company, CRISTETA C.
        OWAN, an individual; ROMMEL
        GUZMAN; FIDELITY NATIONAL TITLE
        & ESCROW OF HAWAI'I and Does 1-
        100 Inclusive,



                    Defendants.




                           SCHEDULING CONFERENCE STATEMENT OF
                 DEFENDANT, CROSS-CLAIM DEFENDANT CRISTETA C. OWAN.
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        Pursuant to L.R. 16.2(b), of the Rules of the United States

  District Court for the District of Hawaii, Defendant, Cross-Claim

  Defendant Cristeta C. Owan (^^Cristeta"), hereby submits the

  following Scheduling Conference Statement:

                1. STATEMENT OF THE CASE AND JURISDICTION

        On May 8,2017, Plaintiff Millicent Andrade ("Plaintiff")

  filed her First Amended Complaint against Defendant Cristeta

  claiming that Cristeta induced Plaintiff Millie to invest in a

  company called Better Life Global Marketing ("BLGM") which was

  introduced to Plaintiff by Defendants Abner and Aurora Guarino

   C'Abner & Aurora")and not Cristeta.

        Cristeta filed her Answer to the First Amended Complaint on

  July 10, 2017.

        Jury trial has been demanded by Plaintiff.

                     2. STATEMENT CLAIMS AND DEFENSES

        Plaintiff Millicent Andrade (^^Millie") appears to claim that

  Cristeta induced Millie to invest in a company called Better

  Living Global Marketing (^^BLGM").       Cristeta contends that

  Plaintiff should be barred from maintaining this action against

  Cristeta because Plaintiff knowingly and voluntarily chose to

  personally enroll as a member of BLGM on behalf of herself and

  her fiance or boyfriend. Plaintiff Craig B. Stanley.           Cristeta

  did not induce Millie to invest into BLGM.         Cristeta simply

  allowed Defendants, Abner & Aurora Gaurino to use her office to

  make presentations for persons interested in joining BLGM.
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  Cristeta has not had any business or legal relationship with the

  Guarino Defendants except as another member of BLGM who also lost

  considerable sums of money to the BLGM scam.          Cristeta also

  contends that Plaintiff cannot maintain an action against

  Cristeta because no conduct of Cristeta was a legal cause of any

  other injury or damage sustained by Plaintiff.



                          3. SUMMARY OF PROCEEDINGS

        On May 8,2017, Plaintiff filed her First Amended Complaint

  against Cristeta.     Cristeta filed her Answer to the First Amended

  Complaint on July 10, 2017.

        On June 5, 2017, Defendants ROMMEL GUZMAN; FIDELITY NATIONAL

  TITLE & ESCROW OF HAWAI'I filed a Cross-Claim against Cristeta in

  connection with a transaction or transactions with Plaintiff of

  which Cristeta had/has no personal knowledge or involvement.

  Thus, Cristeta became a Cross-Claim Defendant.          Cristeta contends

  that Defendants ROMMEL GUZMAN; FIDELITY NATIONAL TITLE & ESCROW

  OF HAWAI'I should not be allowed to maintain their Cross-Claim

  against Cristeta as Cristeta had/has absolutely no personal

  knowledge or involvement in any transaction(s) related to the

  claims being made.

                           4. STATUS OF DISCOVERY

        From what Cristeta now knows discovery request(s) was/were

  made by Defendant APT-320, LLC, a Hawai'i limited liability

  company which Plaintiff has failed to answer or produce to date.
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  Thus, Discovery     is not completed and Cristeta suspects that this

  Discovery will spawn more discovery by other parties in the case.



              5. STATEMENT OF PARTY'S POSITION ON SETTLEMENT


          Cristeta's position on settlement is that insofar as she

  contends she was /is not even a proper party in this matter there

  is nothing for her to settle except her being dismissed from this

  case.



        Cristeta has no idea whether there is any likelihood that

  the other parties will enter into a settlement agreement of the

  entire matter prior to any scheduled trial date.


              DATED: Lihue, Kauai, Hawaii,                       /f, ^/7


                                     CRISTETA C. OWAN
                                     Defendant, Cross-Claim Defendant,
                                     Pro se
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                     IN THE UNITED STATES DISTRICT COURT

                          FOR THE DISTRICT OF HAWAII


  ATOOI ALOHA, LLC, A Nevada               CIVIL NO. 16-00347 JMS RLP
  Limited Liability Company,
  CRAIG B. STANLEY, as Trustee            CERTIFICATE OF SERVICE
  for THE EDMON KELLER AND
  CLEAVETTE MAE STANLEY FAMILY
  TRUST; CRAIG B. STANLEY,
  individually, MILLICENT
  ANDRADE, individually.


           Plaintiffs,
               vs.



  ABNER GUARINO, AURORA GUARINO,
  INVESTOR FUNDING CORPORATION,
  as Trustee for an unrecorded
  Loan Participation Agreement
  dated June 30, 2014; APT-320,
  LLC, a Hawai'i limited
  liability company, CRISTETA C.
  OWAN, an individual; ROMMEL
  GUZMAN; FIDELITY NATIONAL TITLE
  & ESCROW OF HAWAI'I and Does 1-
  100 Inclusive,


              Defendants.




                            CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that a true and accurate copy of the
  foregoing will be served on the following parties by United
  States mail, postage prepaid to the following address:

              John R. Remis, Jr. Esq.
              P.O. Box 38112
              Honolulu, HI 96837
              jrrhnlQaol.com
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              and Rommel Guzman
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        DATED:   Lihue, Kauai, Hawaii                       //,



                                      CRISTETA OWAN

                                     Defendant-Cross-Defendant, Pro Se


  U.S. MAIL
